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 'DWH May 27, 2022                                            /S/ Bruce M. Cohen
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 'DWH May 27, 2022                                          /S/ Stephen P. Ellingson
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 Important! E-file this form in ECF using the appropriate event among these choices: “Stipulation & Proposed Order
 Selecting Mediation” or “Stipulation & Proposed Order Selecting ENE” or “Stipulation & Proposed Order Selecting Early
 Settlement Conference with a Magistrate Judge” or “Stipulation Proposed Order Selecting Private ADR.”
 Form ADR-Stip rev. 1-15-2019
